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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

 TYCO FIRE PRODUCTS LP,                                 Civil Action No. 2:23-cv-02384-RMG
                                       Plaintiff,
                       v.
                                                        Hon. Richard M. Gergel

 AIU INSURANCE COMPANY, et al.


                                    Defendants.

 ORDER REGARDING CROSS DESIGNATION IN WISCONSIN ACTION
       WHEREAS, in an Order dated October 30, 2023 (“October 30 Order”), this Court ordered

“that all documents previously produced in In Re Aqueous Film-Forming Foams Products

Liability Litigation, C.A. No. 2:18-2873 (hereafter referred to as the “MDL”), shall be deemed

produced in this action and subject to the Case Management Orders of the MDL unless and until

a case management order or ESI protocol is entered in this case. All future productions will also

be subject to the MDL Case Management Orders unless and until superseded by orders in this

case.” ECF No. 111 at ¶ 3.

       WHEREAS, the October 30 Order also states that “[d]ocuments produced in the MDL that

are responsive to discovery requests in this action may be produced in this action without seeking

leave in the MDL or consent of the producing parties and without need to provide further bate

stamp numbers.” ECF No. 111 at ¶ 9.

       WHEREAS, on November 17, 2023, this Court entered the Confidentiality and Protective

Order (“Confidentiality Order”). ECF 189. Among other things, the Confidentiality Order

provides that, subject to other provisions therein, “[d]ocuments that were produced or filed in the

MDL that are responsive to discovery requests in this action may be produced in this action without


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seeking leave in the MDL or consent of the producing parties and without need to provide further

Bates stamp numbers.” ECF 189 at ¶ 21.

       WHEREAS, in Discovery Case Management Order No. 1 entered on November 17, 2023,

the Court ordered the Parties to “use best efforts” and to “cooperate with one another to seek to

ensure that all discovery in this action is cross-designated for use in the lawsuit captioned Century

Indemnity Company v. Tyco Fire Products LP, Case No. 2022-CV-000283 (Wis. Cir. Ct. Marinette

Cnty.) (the “Wisconsin Action”).” ECF 190 at ¶ 10. Discovery Case Management Order No. 1

also orders that, “[w]ith respect to documents produced or filed in the MDL Lawsuit that are

responsive to discovery requests in this action, the parties shall work together to obtain any

necessary court orders or consents from parties to the MDL … prior to cross designating such

materials for use in the Wisconsin Action.” Id.

       WHEREAS, in accord with and pursuant to Paragraph 10 of Discovery Case Management

Order No. 1, counsel for Tyco engaged in discussions with the Plaintiffs’ Executive Committee

(“PEC”) seeking to permit the cross designation in the Wisconsin Action of documents and other

discovery produced or filed in the MDL and produced by the MDL plaintiffs. As a result of such

discussions, the PEC has no objection to this order.

       WHEREAS, the court in the Wisconsin Action has entered a Confidentiality and Protective

Order (“Wisconsin Protective Order”) that is materially identical to the Protective Order entered

in this case. The Wisconsin Protective Order is attached hereto as Exhibit A. Paragraph 21 of the

Wisconsin Protective Order addresses and provides for the protection of documents and other

materials that were produced in the MDL, and does so in a way that is identical to Paragraph 21

of the Protective Order entered in this case.




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       WHEREAS, in order to effectuate the cross-designation in the Wisconsin Action of all

documents produced in discovery in this case, including those from the MDL,

       IT IS HEREBY ORDERED:

       1.     Documents that were produced or filed in the MDL that are responsive to discovery

requests in this action may be produced and/or deemed produced in the Wisconsin Action without

seeking leave in the MDL or consent of the producing parties and without need to provide further

Bates stamp numbers.

       2.     All documents produced and/or deemed produced pursuant to Paragraph No. 1 shall

be subject to the provisions of the Wisconsin Protective Order, including without limitation

Paragraph No. 21 thereof.

       AND IT IS SO ORDERED.

                                                           s/Richard Mark Gergel
                                                           Richard Mark Gergel
                                                           United States District Court

       Dated: January 18, 2024

       Charleston, South Carolina




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